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Exhibit March 2021 Email Chain among __Scott Greenwood__ Director of Finance and T__Page 1 of 2

From: Greenwood, Scott J. [sgreenwood@goodmansolutions.com]
Sent: 3/8/2021 7:01:35 PM

To: Kozma, Brad L. [bkozma@goodmansolutions.com]

Subject: ATC Transactions

Attachments: Incoming-Outgoing Transactions ATC.xlsx

Brad, here is what | was able to pull together through emails and such. | had Brunke take a look and he agrees that
these were all of the big transactions.

If you include all of the proceeds, we had about $44.5M in incoming proceeds from November 2019 through June of
2020. Also at the end of June we had $14.1M in revolver debt, and $35M in sold AR balance. Which would offset all of
the $44.5M we had received. Since July we have decreased our revolver and AR balance to $39M as of 3/5/2021, or
about $10M. The difference will be the impact of operating losses.

Regards,

Date Amount Description

11/12/2019 15,000,000 Borrowed $15M from Midcap on our revolver

11/12/2019 (11,000,000) Paid $11M to JDS1 for bond purchases
12/5/2019 (2,000,000) Paid $2M in bond interest

12/31/2019 (250,000) Paid $250k extension fee

1/3/2020 25,600,000 Received $25.6M from Genesis (sold AR)

1/3/2020 (26,300,000) Paid $26.3M to Glas Americas for Bond purchases
1/27/2020 22,300,000 Received $22.3M from EWB to purchase Midcap Revolver
1/27/2020 (22,700,000) Opened new revolver with EWB ($400k in fees)
3/12/2020 25,000,000 Received $25M from Genesis (Sold AR)

4/16/2020 (4,000,000) Sent funds to Genesis Networks (Fee assessed for ATC Aqcuisition)
4/23/2021 (7,000,000) Sent funds to Genesis Networks (Sold AR Paydown)
5/13/2020 (2,200,000) Paid Bond Interest
6/30/2020 32,000,000 GTS Acquisition
44,450,000 Total Incoming Proceeds
As of 6/30/2020
14,100,000 Revolver Balance
35,000,000 Sold AR Balance
49,100,000 Total Obligations
As of 3/5/2021
17,000,000 Revolver Balance
22,000,000 Sold AR Balance
39,000,000 Total Obligations

Scott Greenwood
Director of Finance & Treasury

SGreenwood@goodmansolutions.com

214-430-6989 Mobile

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